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Attorneys for Plaintiff, Door Tech, LLC

                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF ALASKA


 UNITED STATES, for the use and benefit
 of DOOR TECH, LLC,

           Plaintiff,

 vs.

 TRAVELERS CASUALTY AND
 SURETY COMPANY OF AMERICA
 PAYMENT BOND NO. 105249070,
                                                  Case No. 3:11-cv-00242-TMB
           Defendant.

                  STIPULATION FOR DISMISSAL WITH PREJUDICE

              COME NOW the parties, by and through their respective counsel of record, and

hereby advise the Court that the matter has been resolved and that the parties stipulate and agree

that all claims asserted in this case may be dismissed, with prejudice, with each party to bear all

of their own costs and attorney’s fees.




       Case 3:11-cv-00242-TMB Document 9 Filed 03/09/12 Page 1 of 2
      DATED at Anchorage, Alaska, this 9 th day of March, 2012.

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      DATED at Anchorage, Alaska, this 9 th day of March, 2012.

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Stipulation for Dismissal with Prejudice, Page 2 of 2
Door Tech, LLC v. Travelers Casualty and Surety Company of America
Case No. 3:11-cv-00242-TMB



      Case 3:11-cv-00242-TMB Document 9 Filed 03/09/12 Page 2 of 2
